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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


 Civil Action No.: 1:21-cv-01747


 RTP ROOFING CO.,

          Plaintiff,

 v.

 TRAVELERS COMPANIES, INC.,

          Defendant.


                              COMPLAINT AND JURY DEMAND



        Plaintiff RTP Roofing Co. (“Plaintiff”), through its attorneys, Daly & Black, P.C. and

Gray LLC, respectfully submits the following Complaint and Jury Demand:

                                         INTRODUCTION

        1.       The Travelers Companies, Inc. (“Travelers” or “Defendant”) insures thousands of

homes and commercial buildings in Colorado.

        2.       Travelers has consistently and wrongly denied full payment when processing each

and every insurance claim for hail loss on these properties.

        3.       As part of “hail alley,” Colorado ranks second only to Texas for the total number

of hail loss claims filed with insurers. Property owners in Colorado pay higher premiums than in

other states for their insurance policies.

        4.       When hail or damaging storms strike, roofing contractors are engaged by insureds

(homeowners, commercial building owners, and HOAs) to complete roofing work for hail

damage.


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       5.      In most cases, roofing contractors work with the property owner’s insurer, like

Travelers, to determine the scope of work that is covered by the property owner’s policy, and the

amount the insurance company must pay the contractor for the roofing work to be performed.

       6.      When processing claims for hail damage, Travelers purposefully denies payments

for benefits that are covered under the building owners’ policies.

       7.      In particular, Travelers consistently and without exception denies payment for

labor for removing roofing material.

       8.      The roofing contractors suffer the economic damage, since the building owners

are only asked to contribute their deductible towards the cost of roofing work.

       9.      As part of the roofing work following a damaging storm, experienced and skilled

roofing contractors must remove and replace damaged roofing materials.

       10.     Roofing contractors hire crews of skilled workers who navigate dangerous work

areas of 30 or more feet off the ground. Roofers suffer injuries and die at significantly higher

rates than other construction workers because of the inherent risk of this work.

       11.     Roofers also must learn and apply precise and careful skills specific to working

with roofing material, particularly at dangerous heights.

       12.     They are specialized laborers retained specifically for roofing work. They

carefully traverse a roof 30-plus feet off the ground, using cables and harnesses, avoiding

damaging the unaffected portions of the roof, and knowing how to work with a variety of roofing

materials as part of a delicate and precise process.

       13.     Contractors pay roofers the same higher wage, compared to typical construction

or demolition work, regardless of whether they are removing roofing material or installing it,

since removal requires the exact same skill as installing it.




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         14.    Contractors must also pay higher workers compensation premiums for roofing

labor.

         15.    However, Travelers does not pay roofing contractors for skilled roofing labor

when the labor is designated as removal by its estimating software, called Xactimate. Instead,

Travelers pays a significantly lower labor rate that is applicable to general demolition, like

carrying trash to the garbage after a wall is knocked down.

         16.    Notably, Travelers pays a higher roofing labor rate for roofing material

installation.

         17.    The same workers, requiring the same skills and faced with the same risk,

perform both installation and removal of roofing material. The roofing contractors pay the

workers the same higher wages (and pay for the same increased workers compensation benefits)

for both installation and removal.

         18.    There is no reasonable basis for denying roofing contractors payment for the labor

to remove roofing material.

         19.    This unreasonable denial is actionable under Colorado’s bad faith law.

                                COLORADO BAD FAITH LAW

         20.    Under Colorado law, C.R.S. 10-3-1115 and 1116, a plaintiff in a first-party

insurance case claiming that the insurance company unreasonably delayed or denied payment of

benefits can recover double damages, costs and attorney fees.

         21.    Specifically, the bad faith statute provides that “[a] person engaged in the

business of insurance shall not unreasonably delay or deny payment of a claim for benefits owed

to or on behalf of any first-party claimant.” C.R.S.10-3-1115(1)(a).




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        22.    Under C.R.S. §10-3-1115 and Colorado case law, the party with standing needs

neither a contractual relationship with the insurance company nor an assignment of claims to

bring a statutory bad faith claim as a “first-party claimant.”

        23.    Accordingly, claims for statutory bad faith may be brought by an insured’s

contractor.

                                 JURISDICTION AND VENUE

        24.    This Court has jurisdiction over this action pursuant to the Class Action Fairness

Act (“CAFA”), 28 U.S.C. §1332(d), because (i) at least one member of the class is a citizen of a

state different from Defendant, (ii) the amount in controversy exceeds $5,000,000, exclusive of

costs and interests, and (iii) none of the exceptions under that section applies to this action.

        25.    Colorado typically sees over 150,000 homeowner hail loss claims every year.

        26.    Travelers benefits from a 6.5% market share of residential insurance policies and

6.2% market share of commercial insurance policies in Colorado.

        27.    An average residential roof size in Colorado is approximately 2,100 square feet

(or 21 100-square foot “squares”).

        28.    Travelers includes in its estimates a labor rate for removal of roofing material that

is approximately (and in some cases more than) $75 per square less than the skilled roofing labor

rate.

        29.    Assuming even just a quarter of the over 250,000 residential roofs require

complete replacement when they sustain hail damage, and not including a single commercial

property covered by Travelers (which are treated the same way as residential property claims),

Plaintiff and the class may recover damages of over $12 million based on Traveler’s failure to

pay for roofing material removal labor in a two-year class period for residential properties alone.




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Based on information available, Plaintiff believes that the damages are significantly higher when

commercial property claims are included.

        30.    Venue is proper in this District under 28 U.S.C. §1391 because a substantial part

of the events or omissions giving rise to the claim occurred here, and under 18 U.S.C. §1965(a)

because Defendant transacts business or is otherwise found in this district.

                                             PARTIES

        31.    Plaintiff RTP Roofing is a Colorado corporation with a principal office street

address of 4011 S Federal Boulevard, Sheridan, Colorado 80110.

        32.    Plaintiff is a citizen of Colorado.

        33.    Defendant Travelers is a publicly-traded Delaware corporation with its principal

office at 485 Lexington Avenue, New York, NY 10017-2630.

        34.    Travelers is not a citizen of Colorado.

                                  FACTUAL ALLEGATIONS

        35.    In the last two years, Plaintiff has done roofing work stemming from claims for

hail damage on properties covered by Travelers insurance policies.

        36.    In uniform fashion, Travelers unreasonably denied payment for roofing labor for

removal of roofing materials and instead paid the much lower demolition labor rate.

        37.    Travelers uses a construction estimating software called Xactimate, the leading

estimating software for construction, and in particular roofing work.

        38.    The Xactimate program contains default labor rates for specific categories of

work.




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         39.    In particular, when roofing material installation or replacement is selected as the

category of work, Xactimate defaults to the roofer labor rate; specifically, it auto-populates the

rate for skilled roofing labor.

         40.    By contrast, when roofing material removal is selected as the category of work,

Xactimate defaults to the demolition labor rate, auto-populating the rate for general demolition

labor.

         41.    A lower demolition rate is the default rate for roofing material removal labor even

though the same workers who perform the installation also perform the removal, using the same

specialized roofing skills, encountering the same dangers, and commanding the same elevated

wages.

         42.    Below is a screenshot of the Xactimate program’s default labor rates, showing

that demolition labor (DMO) is used for removal, but skilled roofing labor (RFG) is used for

replacement of roofing material:




         43.    In every single roofing claim for hail damage, Travelers unreasonably uses the

default demolition rate for roofing material removal in its estimates, denying contractors

payment for the difference between the skilled roofing labor rate and the demolition labor rate.

         44.    There is no reasonable basis for denying payment for skilled roofing labor.

         45.    For example, Plaintiff performed roofing work for hail loss for a property in

Castle Rock, Colorado with a date of loss of June 6, 2019 (“Castle Rock Claim”).



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       46.      Travelers provided its estimate of covered work for the Castle Rock Claim on

July 4, 2019.

       47.      Travelers’s estimate contained the following line item for roofing material

removal:




       48.      For 17.92 SQ (or “squares”), Travelers agreed to pay a total $935.07, with a

demolition labor rate of $52.18 per square.

       49.      The skilled roofing labor rate for removing roofing material would have been

$166.81 per square in Castle Rock on the date of the estimate.

       50.      Accordingly, the total payment to Plaintiff for removal of 17.92 squares of

roofing material, which Travelers admitted was a covered benefit, should have been $2,989.24.

       51.      Therefore, Plaintiff was denied a total of $2,054.17 for the Castle Rock Claim.

       52.      Similarly, Plaintiff performed roofing work for hail loss for a property in Parker,

Colorado with a date of loss of July 21, 2019 (“Parker Claim”).

       53.      Travelers provided its estimate of covered work for the Parker Claim on

September 4, 2019.

       54.      Travelers’s estimate contained the following line item for roofing material

removal:



       55.      For 27.71 squares, Travelers agreed to pay a total $1,575.31, with a demolition

labor rate of $56.85 per square.

       56.      The skilled roofing rate for removing roofing material would have been $166.81

per square in Parker on the date of the estimate.


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        57.    Accordingly, the total payment to Plaintiff for removal of 27.71 squares of

roofing material, which Travelers admitted was a covered benefit, should have been $4,622.31.

        58.    Therefore, Plaintiff was denied a total of $3,047.00 for the Parker Claim.

        59.    Similarly, Plaintiff performed roofing work for hail loss for a property in Denver,

Colorado with a date of loss of July 4, 2019 (“Denver Claim”).

        60.    Travelers provided its estimate of covered work for the Denver Claim on July 1,

2020.

        61.    Travelers’s estimate contained the following line item for roofing material

removal:




        62.    For 14.04 squares, Travelers agreed to pay a total $809.83, with a demolition

labor rate of $57.68 per square.

        63.    The skilled roofing labor rate for removing roofing material would have been

$182.62 per square in Denver on the date of the estimate.

        64.    Accordingly, the total payment to Plaintiff for removal of 14.04 squares of

roofing material, which Travelers admitted was a covered benefit, should have been $2,563.98.

        65.    Therefore, Plaintiff was denied a total of $1,754.15 for the Denver Claim.

                               CLASS ACTION ALLEGATIONS

        66.    Plaintiff realleges and incorporates by reference all prior allegations of this

Complaint as if fully set forth herein.

        67.    Plaintiff seeks certification of a Class as defined below, pursuant to Fed. R. Civ. P.

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               All persons or entities who performed roofing work in Colorado

               pursuant to a claim for covered roof damage under a Travelers

               insurance policy, and were denied proper roofing removal payments

               by Travelers in the period of June 25, 2019, to the present.

                 i.   Excluded from the Class are (i) any judge(s) presiding over this action and

                      members of their families; (ii) Defendants’ subsidiaries, parents,

                      successors, predecessors, and any entity in which Travelers or its parents

                      have a controlling interest and their current or former employees, officers

                      and directors; (iii) persons who properly execute and timely request

                      exclusion from the Class; and (iv) the legal representatives, successors or

                      assigns of any such excluded persons.

       68.     Numerosity: The exact number of Class members is unknown to Plaintiff at this

time, but upon information or belief, there are hundreds of contractors who have done roofing

work in Colorado pursuant to Travelers insurance policies. Members of the Class can be

identified through Travelers’s records.

       69.        Commonality and Predominance: Common questions of law and fact exist as

to all members of the Class and predominate over any questions affecting only individual

members.

       These common questions include but are not limited to:

               i. Whether Travelers denied payment for skilled roofing labor for roofing

                   material removal.

               ii. Whether Travelers’ denial of payment for skilled roofing labor for roofing

                   material labor was unreasonable.




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               iii. Whether Travelers was unjustly enriched.

               iv. Whether Plaintiff is entitled to injunctive relief.

               v. Whether Plaintiff and the Classes are entitled to damages.

               vi. Whether Plaintiff and the Classes are entitled to any other relief.

       70.     Typicality: Plaintiff’s claims are typical of the claims of the other members of the

Class. Plaintiff and the Class sustained damages as a result of Travelers’s uniform, wrongful

conduct in denying payment for roofing material removal labor.

       71.     Adequate Representation: Plaintiff will fairly and adequately represent and

protect the interests of the Class and has retained counsel competent and experienced in complex

litigation and class actions. Plaintiff has no interest in conflict to those of the Class and Travelers

has no defenses unique to Plaintiff.

       72.     Appropriateness: The class action is appropriate for certification because class

proceedings are superior to all other available methods for the fair and efficient adjudication of

this controversy and joinder of all members of the Class is impracticable. The damages suffered

by the individual Class members will likely be small relative to the burden and expense of

individual prosecution of the complex litigation necessitated by Travelers’s wrongful conduct.

Thus, it would be virtually impossible for the individual Class members to obtain effective relief

from Travelers’s unlawful practices. Even if Class members could sustain such individual

litigation, it would not be preferable to a class action because individual litigation would increase

the delay and expense to all parties due to the complex legal and factual controversies presented

in this Complaint. By contrast, a class action presents far fewer management difficulties and

provides the benefits of single adjudication, economies of scale, and comprehensive supervision




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by a single court. Economies of time, effort, and expense will be fostered, and uniformity of

decisions will be ensured.

       73.     Policies Generally Applicable to the Class: This class action is also appropriate

for certification because Travelers has acted or refused to act on grounds generally applicable to

the Class, thereby requiring the Court’s imposition of uniform relief to ensure compatible

standards of conduct toward the Class members, and making final injunctive relief appropriate

with respect to the Class as a whole. Travelers’s practices challenged herein apply and affect

members of the Class uniformly and Plaintiff’s challenge of these practices hinges on Travelers’s

conduct with respect to the Class as a whole, not on facts or law applicable only to Plaintiff.

       74.     Plaintiff reserves the right to revise the Class definition based on information

learned through discovery.

                         PLAINTIFF’S FIRST CLAIM FOR RELIEF
                         VIOLATION OF C.R.S. 10-3-1115 AND 1116
                            (On behalf of Plaintiff and the Class)

       75.       Plaintiff realleges and incorporates by reference the foregoing allegations of

this Complaint as if fully set forth herein.

       76.       At all times pertinent hereto, the following Colorado statute was in effect:

   10-3-1115. Improper denial of claims – prohibited – definitions – severability.

       77.       (1) (a) A person engaged in the business of insurance shall not unreasonably

delay or deny payment of a claim for benefits owed to or on behalf of any first-party claimant.

       78.       C.R.S. §10-3-1116 provides a remedy for such denial or delay of payments in

the form of “reasonable attorney fees, court costs, and two times the covered benefit.”

       79.     Under C.R.S. §10-3-1115 and Colorado law interpreting this statute, “on behalf of

any first-party claimant” includes claims brought by an insured’s contractor.

       80.       Travelers unreasonably delayed or denied payment of insurance benefits by:


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               (1) failing to provide or delaying the payment of the reasonable, necessary, and

                   actual funds to remove portions of damaged roof systems, where such removal

                   is admittedly a covered benefit;

               (2) engaging in additional acts and omissions that may be discovered in the course

                   of litigation.

       81.      Travelers unreasonably denied and delayed payment in violation of C.R.S. §10-

3-1115.

       82.      Travelers is subject to the provisions of C.R.S. §10-3-1116 for double damages,

court costs, and attorney fees.

                       PLAINTIFF’S SECOND CLAIM FOR RELIEF
                                UNJUST ENRICHMENT
                           (On behalf of Plaintiff and the Class)

       83.      Plaintiff realleges and incorporates by reference the foregoing allegations of

this Complaint as if fully set forth herein.

       84.      Travelers received the benefit of the difference between the skilled roofing labor

and demolition labor rates for roofing material removal labor.

       85.      Travelers’s benefit was at the expense of Plaintiff and the Class.

       86.      It would be unjust for Travelers to retain that benefit.

                     PLAINTIFF’S THIRD CLAIM FOR RELIEF
                DECLARATORY JUDGMENTAND INJUNCTIVE RELIEF
                        (On behalf of Plaintiff and the Class)

       87.      Plaintiff realleges and incorporates by reference the foregoing allegations of

this Complaint as if fully set forth herein.

       88.      Travelers’s practice of failing to pay for skilled roofing labor for roofing

material removal, and instead paying the lower demolition labor rate, is an unreasonable denial

of a covered benefit and is a violation of C.R.S. 10-3-1115 and 1116, as discussed above.


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        89.     Plaintiff seeks a declaratory judgment that Travelers’s practice of denying

payment to contractors for skilled roofing labor is a violation of Colorado state law, C.R.S. 10-

3-1115 and 1116.

        90.     Plaintiff seeks a permanent injunction enjoining Travelers from continuing to

engage in the unlawful practice.

                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiff and the Class pray for relief against Travelers as follows:

        a.     Certifying this case as a class action, designating Plaintiff as Class Representative

and his attorneys as Class Counsel;

        b.     Double damages, court costs, and reasonable attorney fees incurred in prosecuting

this   action pursuant to C.R.S. §10-3-1116;

        c.     An award of pre- and post-judgment interest;

        d.     Costs and expenses;

        e.     A declaratory judgment that Travelers’s failure to pay is unlawful;

        f.     Equitable and injunctive relief to Plaintiff and the Class, including a permanent

injunction, restitution, disgorgement, and an accounting of all revenue gained by Travelers through

its unlawful conduct; and

        g.     Such other and further relief as this Court may deem just, equitable or proper.


A JURY IS DEMANDED AS TO ALL ISSUES HEREIN.




                                   [Signatures on following page.]



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Respectfully submitted June 23, 2021.


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